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                           UNITED STATES DISTRICT COURT

                        DISTRICT OF MINNESOTA
______________________________________

James Bigham, John Quarnstrom, Robert              Civil File No. ___________________
Vranicar, Jim Bowman, Mike McCauley,
and Matt Fairbanks as Trustees of the
Sheet Metal Local #10 Control Board Trust
Fund, and the Sheet Metal Local #10
Control Board Trust Fund,

             Plaintiffs,                                                    COMPLAINT

vs.

D. G. Solem & Sons, Inc.,

             Defendant.

______________________________________

      Plaintiffs, as their Complaint against the Defendant, state and allege as follows:

                     IDENTITY OF PARTIES, JURISDICTION, VENUE

      1.      The Plaintiffs are James Bigham, John Quarnstrom, Robert Vranicar, Jim

Bowman, Mike McCauley, and Matt Fairbanks as Trustees of the Sheet Metal Local #10

Control Board Trust Fund and the Sheet Metal Local #10 Control Board Trust Fund

(“Control Board”).

       2.     As set forth in its Trust document, the Control Board is a clearinghouse

which provides various services to employee benefit plans and is designated by various

labor Agreement as the entity to, amongst other things, accept and distribute

contributions to the employee benefit plans specified in the labor Agreement.         The

Control Board Trustees are fiduciaries of the employee benefit plans specified in the

labor Agreement.



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       3.     The employee benefit plans on whose behalf the Control Board seeks

contributions, and which the Control Board forms a part, are multi-employer jointly-

trusteed fringe benefit plans created and maintained pursuant to § 302(c)(5) of the

Labor Relations Management Act of 1974 (“LMRA”), as amended, 29 U.S.C § 186(c)(5).

The employee benefit plans are administered in accordance with the provisions of the

ERISA, as amended 29 U.S.C. § 1001, et seq. and are exempt from federal income

taxation pursuant to Internal Revenue Code.

       4.     Defendant D. G. Solem & Sons, Inc. (“D. G. Solem & Sons”) is a

Minnesota business corporation with the registered address of 5845 Jean Duluth Road,

Duluth, Minnesota, 55803. D. G. Solem & Sons is an employer within the meaning of

ERISA § (3)(5), 29 U.S.C. § 1002(5).

       5.     This is an action by fiduciaries to collect unpaid fringe benefit contribution

payments. Subject matter jurisdiction over this controversy, therefore, is conferred upon

this Court, without regard to the amount in controversy by ERISA § 502(e)(1), 29 U.S.C.

§ 1132(e)(1); ERISA § 502(f), 29 U.S.C. § 1132(f), ERISA § 502(a)(3), 29 U.S.C. §

1132(a)(3); and ERISA § 515, 29 U.S.C. § 1145. Subject matter jurisdiction is also

conferred by LMRA § 301, 29 U.S.C. § 185 and the federal common law developed

thereunder.

       6.     The Control Board is located in Ramsey County, Minnesota, therefore,

venue is proper in this court pursuant to ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2).




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                                         FACTS

       7.     The Control Board re-alleges and incorporates by reference paragraphs

1-6 herein.

      8.      D. G. Solem & Sons is bound to a Collective Bargaining Agreement

negotiated between the International Association of Sheet Metal, Air, Rail, and

Transportation Local Union 10, Duluth-Superior and the Duluth-Superior Master Sheet

Metal, Roofing, & Air Conditioning Contractors Association (“CBA”).

      9.      D. G. Solem & Sons is bound to the CBA through at least May 1, 2018.

       10.    The CBA requires D. G. Solem & Sons to submit contributions to pension,

health and welfare, vacation, industry and training funds in the amount per hour

specified in the CBA for each hour worked by its employees covered by the CBA.

       11.    The CBA incorporate by reference the Restated Declaration of Trust for

the Sheet Metal Local No. 10 Control Board Trust Fund (“Trust Agreement”) and states

that all contributions shall be paid in accordance with the Trust Agreement.

       12.    The CBA require D. G. Solem & Sons to set forth the amount due and

owing for contributions on a report form to be submitted to the Control Board with D. G.

Solem & Sons’s monthly payment.

       13.    29 U.S.C. § 1059 requires employers such as D. G. Solem & Sons to

maintain and preserve contemporaneously accurate documentation showing what

employees performed what CBA-covered work on what projects for what hours on what

given date.




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       14.     If D. G. Solem & Sons fails to maintain satisfactory records from which the

type of work being performed by an individual may reasonably be determined, D. G.

Solem & Sons is liable for all of the hours worked by that individual for whom D. G.

Solem & Sons is unable to produce satisfactory records verifying the type of work being

performed by that individual.

       15.     The CBA and the Trust Agreement require D. G. Solem & Sons to submit

the report and payment to the Control Board by the tenth day of the following month for

which the contributions are due and provides that any employer whose report and

contributions are not received by the Control Board within five days after the tenth, or

the first working day thereafter, is delinquent.

       16.     The CBA and the Trust Agreement state that delinquent employers are

subject to a liquidated damages assessment equal to ten percent of the contributions

due and owing for the month. However, if the delinquent contributions, together with the

liquidated damages assessment, are not received by the Control Board on or before the

tenth day of the next month, the liquidated damages assessment increases to twenty

percent.

       17.     The CBA and Trust Agreement states that a delinquent employer must

pay interest charges on delinquent contributions computed at the rate prescribed by §

6621 if the Internal Revenue Code.

       18.     The CBA state that any attorneys’ fees incurred in the collection of

contributions shall be payable by the delinquent employer.           Likewise, the Trust

Agreement states that the reasonable costs and attorneys’ fees incurred by the Control

Board in collecting or attempting to collect delinquent contributions shall be paid by the


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delinquent employer.

                                        COUNT I
  Breach of Contract /Failure to Remit Contributions-Report Amount Due
                       Under ERISA and the LMRA

         19.   The Control Board re-alleges and incorporates by reference paragraphs 1-

18 herein.

         20.   D. G. Solem & Sons breached the terms of the CBA by failing to submit

the remittance reports and contributions for the month of December 2017.

         21.   Upon information and belief, D. G. Solem & Sons employed individuals

performing CBA-covered work during the months of December 2017 and continues to

do so.

         22.   D. G. Solem & Sons is liable to the Control Board for the CBA-obligated

fringe benefit amounts for all hours worked by its employees for whom D. G. Solem &

Sons is unable to produce satisfactory records verifying the type of work performed by

any such individuals.

         23.   Every month, until this matter is resolved either through dismissal or

judgment, D. G. Solem & Sons will be obligated to remit fringe fund report forms as

described above as required by the CBA and will be required to remit payment for the

fringe benefit contributions due pursuant to the hours disclosed.

         24.   If D. G. Solem & Sons fails to remit contribution report forms on the 15th

day of the month following the month in which work was performed during the pendency

of this litigation, the Control Board will not have an adequate means of verifying the

proper amounts due and owing to the Control Board, nor will the Control Board have

adequate means of ascertaining the proper allocation of such contributions to D. G.


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Solem & Sons’s employees.

        25.    In the absence of this Court's order as requested, the Control Board is

without adequate remedy at law and will be subject to irreparable harm.

        26.    D. G. Solem & Sons Contracting should be enjoined from further refusal

and failure to remit reports and contributions.

        27.    Pursuant to the CBA and Trust Agreement, D. G. Solem & Sons is liable

to the Control Board for all attorney fees, service fees, filing fees, court reporter fees

and other legal costs and disbursements incurred by the Control Board in enforcing their

rights and collecting the amounts due.

        28.    Pursuant to the CBA and Trust Agreement, D. G. Solem & Sons is liable

to the Control Board for interest on the unpaid contributions and liquidated damages on

the April 2017 contributions and any other month that becomes due and owing during

the pendency of this litigation.

                                       COUNT II
                                    ERISA Damages

        29.    The Control Board re-alleges and incorporates by reference paragraphs

1-29 herein.

        30.    The Control Board is entitled to liquidated damages or double interest

charges on any amounts found to be due and owing under ERISA § 502(g), 29 U.S.C. §

1132(g).

        31.    The Control Board is entitled to attorneys’ fees and costs incurred in this

action under ERISA § 502, 29 U.S.C. § 1132.

        32.    The Control Board is entitled to interest under ERISA § 502, 29 U.S.C. §

1132.

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                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs demand judgment of this Court against the Defendant

D. G. Solem & Sons, Inc. as follows:

        1.     For an order requiring the Defendant to submit to Plaintiffs all remittance

reports for the months of December 2017, accurately and completely identifying all

hours worked by its employees.

        2.     For an order requiring the Defendant to submit to Plaintiffs all remittance

reports which become due throughout the pendency of this litigation, accurately and

completely identifying all hours worked by its employees.

        3.     For judgment for amounts to be proven at trial for delinquent contributions

shown to be owing pursuant to those calculations, plus all additional amounts to which

the Plaintiffs are entitled, including interest and liquidated damages.

        4.     For an award of costs, disbursements and attorney fees according to law.

        5.     Such other and future relief as the Court deems just, equitable or proper.

Date: February 1, 2018                    MCGRANN SHEA CARNIVAL
                                           STRAUGHN & LAMB, CHARTERED


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